                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ARIZONA



UNITED STATES OF AMERICA                    v.      TOWN OF COLORADO CITY, et al.
JUDGE H. RUSSEL HOLLAND                             CASE NO. 3:12-cv-8123-HRH
                                                             (Prescott Division)

PROCEEDINGS:            ORDER FROM CHAMBERS




       Donald James Keith, the appointed police consultant, has completed and is prepared
to submit his report.

       Counsel will be afforded an opportunity to review and recommend whether there is

any necessity for the consultant’s report to be sealed. Accordingly, the police consultant

will please deliver his report (by email or USPS1) directly to Sandra Fredlund of the
United States District Court in Phoenix

       Upon receipt, the clerk will please retain the report in his “paper” file and will

email a copy of the report directly to chambers and to counsel. On or before February 14,
2018, counsel will please file a notice indicating whether there is any necessity for the
report to be filed under seal. The court will then direct the clerk to file the report, either as

a “public” entry or under seal.


cc:    Donald James Keith
       1926 South Summerfield Lane
       Washington, Utah 84780
       435-632-6949
       jkeith1115@gmail.com


       1
       Sandra_Fredlund@azd.uscourts.gov <or> 401 West Washington Street, Phoenix,
Arizona 85003 (Telephone: 602-322-7156).
